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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK


 AMY MOORE, MIA LYTELL, NATASHA
 TAGAI, EMMA HOPPER, BRITTANY                              Case No.: 1:17-cv-06404-BMC
 HASSEN and BRITTANY REYES,

                              Plaintiffs,
                                                            AFFIDAVIT OF SERVICE
               – against –

 HOWARD RUBIN,

                              Defendant.


 STATE OF NEW YORK )
                s.s.:
 COUNTY OF NEW YORK )


        I, John G. Balestriere, being duly sworn, deposes and states:

        1.   I am an attorney in New York, New York and am over eighteen years of age.

        2.   Pursuant to the Court’s Order dated November 19, 2024 (the “Order”), I provided a

 true and complete copy of the Order to Plaintiffs Brittany Hassen, Emma Hopper, and Brittany

 Reyes via email on November 20, 2024.

        3.   I provided a true and complete copy of the Order to Plaintiffs Mia Lytell, Amy Moore,

 and Natasha Tagai via email on November 21, 2024.

        4.   On November 21, 2024, my colleague, at my direction, served true and complete

 copies of the Order, upon:
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